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§363 Auction Dashboard
Round 5

                  Current High                                                                                 Minimum Overbid:
                                 BBQ Holdings - $4,971,000                                                                                                Debtor:
                      Bid:
                                                                                                                    50,000

                                                                                                 Calculation of Purchase Price and High Bids
                                                           Cure Costs for Assumption of        PV of Royalty
                                                             Assumed       AP and Acc.           Revenue         Difference in                                                                Amount Needed          Minimum
                    Bidder         Cash         Warrants     Contracts       Payroll              Stream      Designation Rights    Secured Note        Breakup Fee Total Value to Debtor      for Next Bid        Acceptable Bid
                    Serene         3,323,000             -       675,000        100,000                    -                   -           628,000         (150,000)           4,876,000             145,000              5,021,000
                  BBQ Holdings     3,830,000             -       675,000        100,000              382,000             (16,000)                -                -            4,971,000                    -                     -
                                     [a]           [b]             [c]             [d]              [e]               [f]                   [g]             [h]         [i] = sum(a:g) - h           [j]                  [k]


                                                                   Cumulative Bid Activity
                                                           Cure Costs for Assumption of PV of Royalty
                                                             Assumed       AP and Acc.     Revenue       Difference in
      Round         Bidder         Cash         Warrants     Contracts       Payroll        Stream     Designation Rights              Secured Note
                    Serene         3,323,000             -       675,000         100,000             -                  -                     628,000
         All
                  BBQ Holdings     3,830,000             -       675,000         100,000       382,000           (16,000)                           -

                                                               Incremental Bid Activity                                                                                Total Incremental
                    Serene         3,200,000         50,000         675,000          100,000                                      -                 -                            4,175,000
      Round 0
                  BBQ Holdings     3,450,000              -         675,000          100,000                                      -                 -                            4,225,000

                    Serene            60,000        (50,000)                                         90,000                                                                         100,000 Includes removal of designation rights
      Round 1
                  BBQ Holdings       200,000                                                                                                                                        200,000
                                                                                                                                                                                                                                         Case 21-30721-sgj11 Doc 469-1 Filed 10/06/21




                    Serene            21,000                                                        179,000                                                                         200,000
      Round 2
                  BBQ Holdings                                                                      131,000                 (16,000)                -                               115,000 Royalty does not include #824 and #828

                    Serene            42,000                                                        123,000                                                                         165,000
      Round 3
                  BBQ Holdings                                                                      155,000                                                                         155,000

                    Serene                                                                          130,000                                                                         130,000
      Round 4
                  BBQ Holdings        30,000                                                         96,000                                                                         126,000

                    Serene                                                                         (522,000)                                  628,000                               106,000
      Round 5
                  BBQ Holdings       150,000                                                                                                                                        150,000
                                                                                                                                                                                                                                         Entered 10/06/21 17:38:28
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B. Riley Advisory Services                                                                                                                                                                                                      Page 1 of 1
